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|N THE UN|TED STATES D|STR|CT COURT
FOR THE SOUTHERN D|STR|CT OF OH|O
WESTERN DlVlS|ON

STEPHEN PAUL JARRELL,

Plaintirf, l case No. 3;16-¢\/-95
V' : JuDeE WALTER H. RlcE
DAV'D SHULK'N’ MAGISTRATE JuDGE
Secretary of the Department of _ SHARON L. OV|NGTON

Veterans Affairs,
Defendant_

 

DEC|S|ON AND ENTRY SUSTA|N|NG lV|OT|ON FOR SUMMARY
JUDG|V|ENT OF DEFENDANT DAV|D SHULK|N, SECRETARY OF THE
DEPARTMENT OF VETERANS AFFA|RS (DOC. # 41 ), AND
OVERRUL|NG PLA|NT|FF’S lVlOT|ON FOR SUN||VIARY JUDG|V|ENT
(DOC. # 39); ALL OF PLA|NT|FF STEPHEN PAUL JARRELL’S C|_A||V|S
AGAINST THE DEFENDANT SECRETARY ARE D|SM|SSED W|TH
PREJUD|CE TO REF|L|NG lN TH|S COURT; JUDG|VIENT SHALL
ENTER IN FAVOR OF THE SECRETARY AND AGA|NST PLA|NT|FF;
TER|V||NAT|ON ENTRY

 

ln his Amended Comp|aint, P|aintiff Stephen Paul Jarre|l (“P|aintif'l”) raised twelve
claims against the Defendant David Shulkin, Secretary of the Department of Veterans
Affairs ("Secretary"), alleging that the Secretary committed numerous statutory and
constitutional violations concerning the Department of Veterans Affairs' (“VA”) denial of
his claim for benefits1 as set forth in a January 14, 2015, Determination l_etter, and the
VA's allegedly inadequate responses to his requests for records at various points in
2015 and 2016. Doc. #4. On February15, 2017, the Court adopted the Report and
Recommendations of the United States l\/lagistrate Judge and dismissed all claims

except for Claim One, in which P|aintiff alleged that the Secretary violated the Privacy

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Act of 1974, 5 U.S.C. § 552 et seq., by failing to provide a summary of the evidence
considered in a benefits determination ld., PagelD #18; Doc. #20, PagelD #196. The
Court held that, while Plaintiff brought Claims Two through Twelve under the Privacy
Act, the pecuniary harm he allegedly suffered arose from the VA’s denial of his
applications for benefits As this Court lacks jurisdiction to review a VA benefits
determination, or any issue collateral to said determination, it dismissed those claims
with prejudice Doc. #20, PagelD #194-95 (citing 38 U.S.C. § 511(a); F.A.A. v. Cooper,
566 U.S. 284, 296, 132 S.Ct. 1441, 182 L.Ed.2d 497 (2012)).

Plaintiff filed an Arnended P|eading, abandoning Claims Two through Twelve and
raising three new claims. Doc. #33. Plaintiff alleged, in the new Claims Two through
Four, that the VA failed to review certain evidence submitted by Plaintiff prior to denying
his benefits claim in the VA’s January 14, 2015, Determination Letter, in violation of 38
U.S.C. § 5104 (decisions made by the Secretary regarding an application for VA
benefits). ld., Page|D #309-10. Plaintiff claimed that, due to the VA’s refusal to review
the evidence submitted by Plaintiff and the Secretary’s failure to provide a summary of
evidence relied upon by the VA in denying his benefits claim, he is unable to appeal the
VA’s determination ld., PagelD #310-11. Plaintiff sought equitable relief under
38 U.S.C. § 503. r'd., Page|D #309.

Currently before this Court are the cross-l\/lotions for Summary Judgment of
Plaintiff and the Secretary. Doc. #39; Doc. #41. For the reasons set forth below, this

Court SUSTA|NS the Secretary’s i\/|otion, and OVERRULES Plaintiff’s lVlotion.

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l. LEGAL STANDARD

Summaryjudgment must be entered “against a party who fails to make a
showing sufficient to establish the existence of an element essential to that party’s
case, and on which that party will bear the burden of proof at trial.” Celotex Corp.
v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986). The moving
party always bears the initial responsibility of informing the court of the basis for its
motion, and identifying those portions of the record Which it believes demonstrate the
absence of a genuine issue of material fact. ld. at 323; see also Borettr` v. Wr'scomb,
930 F.2d 1150, 1156 (6th Cir. 1991).

“Once the moving party has met its initial burden, the nonmoving party must
present evidence that creates a genuine issue of material fact making it necessary
to resolve the difference at tria|.” Talley v. Bravo Pitr'no Rest., Ltd., 61 F.3d 1241, 1245
(6th Cir. 1995); see also Anderson v. Lr'berty Lobby, lnc., 477 U.S. 242, 250, 106 S. Ct.
2505, 91 L. Ed. 2d 202 (1986). Once the burden of production has so shifted, the party
opposing summaryjudgment cannot rest on its pleadings or merely reassert its previous
allegations lt is not sufficient to “simp|y show that there is some metaphysical doubt as
to the material facts.” Matsushita Elec. Indus. Co. v. Zem'th Rao'r'o Corp., 475 U.S. 5741
586, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986). Ruie 56 “requires the nonmoving party
to go beyond the [unverified] pleadings” and present some type of evidentiary material
in support of its position. Celotex, 477 U.S. at 324. “The plaintiff must present more
than a scintilla of evidence in support of his position; the evidence must be such that a
jury could reasonably find for the plaintiff.” Michr'gan Prot. & Advocacy Serv., lnc. v.

Babr`n, 18 F.3d 337, 341 (6th Cir. 1994).

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Summaryjudgment shall be granted “if the movant shows that there is no
genuine dispute as to any material fact and the movant is entitled to judgment as a
matter of |aw.” Fed. R. Civ. P. 56(a). “Summaryjudgmentwii| not lie if the dispute
about a material fact is ‘genuine,’ that is, if the evidence is such that a reasonable jury
could return a verdict for the nonmoving party." Anderson, 477 U.S. at 248. |n
determining Whether a genuine dispute of material fact exists, a court must assume as
true the evidence ofthe nonmoving party and draw all reasonable inferences in favor of
that party. ld. at 255. if the parties present conflicting evidencel a court may not decide
which evidence to believe. Credibility determinations must be left to the fact-finder.
10A CHARLEs ALAN WRiGHT, ARTi-ruR R. |V|iLLER & MARY KAY KANE, FEDERAL PRAcTicE AND
PRocEDuRE Civi| 3d § 2726 (1998).

ln determining whether a genuine dispute of material fact exists, a court need
only consider the materiais cited by the parties. Fed. R. Civ. P. 56(c)(3). “A district
court is not . . . obligated to wade through and search the entire record for some specific
facts that might support the nonmoving party’s claim.” InterRoj/al Corp. v. Sponseller,
889 F.2d 108, 111 (6th Cir. 1989). lf it so chooses, however, the court may also
consider other materials in the record. Fed. R. Civ. P. 56(c)(3).

The standard of review for cross-motions of summary judgment does not differ
from the standard applied when a motion is filed by only one party to the |itigation:

“The fact that both parties have moved for summary judgment does not

mean that the court must grant judgment as a matter of law for one side or

the other; summary judgment in favor of either party is not proper if

disputes remain as to material facts Rather, the court must evaluate each

party's motion on its own merits.”

Taft Broad. Co. v. United States, 929 F.2d 240, 248 (6th Cir.1991) (citations omitted).

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l|. ANALYS|S
The objection that a federal court lacks subject-matter jurisdiction

may be raised by a party, or by a court on its own initiative, at any stage in

the litigationl even after trial and the entry ofjudgment. Ruie 12(h)(3)

instructs: “Whenever it appears by suggestion of the parties or otherwise

that the court lacks jurisdiction of the subject matter, the court shali

dismiss the action.”
Arbaugh v. Y&H Corp., 546 U.S. 500, 506-071 126 S. Ct. 1235, 163 L. Ed. 2d 1097
(2006) (citing Kontrick v. Ryan, 540 U.S. 443, 455, 124 S. Ct. 906, 157 L. Ed. 2d 867
(2004)). Thus, the Court first considers the Secretary’s argument that this Court lacks
subject matterjurisdiction over the relief sought by Plaintiff. Doc. #41, PagelD #394. |n
his Amended Pleadings, Plaintiff seeks equitable relief for alleged violations of 38
U.S.C. § 5104 (decisions regarding veteran benefits) and the Privacy Act of 1974, 5
U.S.C. § 552a, et seq. Doc. #33, PagelD #308-11; Doc. #41, PagelD 396-97.

Jurisdiction over veterans benefits claims is governed by the Veterans Judicia|
Review Act of 1988 (“VJRA"). Pub. L. No. 100-687, 102 Stat. 4105. Underthe VJRA,
Congress “estab|ished a multi-tiered framework for the adjudication of claims regarding
veterans benefits.” Beamon v. Brown, 125 F.3d 965, 967 (6th Cir. 1997). The VA “shall
decide all questions of law and fact necessary to a decision by the Secretary under a
law that affects the provision of benefits by the Secretary to veterans.” 38 U.S.C. §
511(a). “[T]he decision of the Secretary as to any such question shall be final and
conclusive and may not be reviewed by any other official or by any court[.]” Id.
(emphasis added). A claimant may appeal a decision from the regional office to the
Board of Veteran’s Appeals (“BV ”), which will either issue a final decision or remand

the claim. 38 U.S.C. § 7104. The Court of Veterans Appeals (“CVA”) has exclusive

jurisdiction over appeals from BWA decisions, 38 U.S.C. § 7252(a); United States Court

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of Appeals for the Federa| Circuit, in turn, has exclusive appellate jurisdiction over
decisions of the CVA. 38 U.S.C. § 7292.

The Privacy Act offers broad discretion to districts courts to order the VA to
amend a veteran’s records, either at the request of the veteran or as the court may
direct. HoWever, this remedy is limited to the correction of inaccurate or incomplete
documents within the veteran’s fi|e.

The law is settled that this Court may not hear claims attempting to

challenge impermissibly the underlying VA benefits decisions; to allow

such Privacy Act ctaims would require this Court to intrude impermissibly

on the province of the Secretary of Veterans Affairs.

Melvr'n v. Dep’fof Veterans Affairs, 70 F. Supp. 3d 350, 358 (D.D.C. 2014) (citing
Thomas v. Princr'pr', 394 F.3d 970, 975 (D.C. Cir. 2005)) (affirming the dismissal of the
plaintiff’s Privacy Act claims that “a|leg[ed] only that the VA’s failure to maintain accurate
and complete records adversely affected [plaintift]’s benefits determinations”). Sixth
Circuit caselaw accords with that of other circuits, holding that: (a) claims relating to
benefits would require consideration of a benefits decision, regardless of how the claims
are styled by a plaintiff; and (b) “Congress intended to preclude district court jurisdiction
over VA decisions relating to benefits claims, including decisions of constitutional
issues.” Beamon, 125 F.3d at 974; accord: Price v. United States, 228 F.3d 420, 422
(D.C. Cir. 2000) (citations omitted) (“The courts have consistently held that a federal
district court may not entertain constitutional or statutory claims whose resolution would
require the court to intrude on the VA's exclusive jurisdiction.”); Sugrue v. Derwinski, 26
F.3d 8, 11 (2d Cir. 1994) ("neither the Privacy Act nor the [Freedom of information Act

of 1966, 5 U.S.C. § 552] may be used as a rhetorical cover to attack VA benefits

determinations”).

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As discussed abovel Plaintiff’s claims while raised under 38 U.S.C. § 5104 and
the Privacy Act, are inextricably intertwined with the pecuniary harm he supposedly
suffered-the VA’s denial of his benefits application as set forth in the January 14,
2015, Determination Letter. Bearnon makes clear that this Court may not review a VA
benefits determination, even ifa collateral matter is raised. 125 F.3d at 974.

According|y, Plaintiffs’ claims must be dismissed.1

l|l. CONCLUS|ON

For the reasons set forth above, the Court SUSTA|NS the l\/iotion for Summary
Judgment of Defendant David Shulkinl Secretary of the United States Department of
Veterans Affairs, on all claims, Doc. #41, and OVERRULES Plaintiff’s |Vlotion for
Summary Judgment. Doc. #39. Plaintiff’s claims are dismissed with prejudice to refiling
in this Court.2 Judgment shall enter in favor of the Secretary and against Plaintiff.

The captioned case is hereby ordered terminated upon the docket records of the
United States District Court forthe Southern District of Ohio, Western Division, at

Dayton.

 

1 Plaintiff alleges in Claim Four that he was prevented from appealing the VA determination when he was
not provided the summary of the evidence considered by the VA in their January 14, 2015, determination
letter. Doc. #33, Page |D #310-11. However, Plaintiff began the appropriate appeals process before
voluntarily withdrawing his Notice of Disagreement. Doc. # 41-3, Page|D #421-22,' Doc. #41-7, PagelD
#446. Had Plaintiff continued in accordance with this procedure, he would have had his appeal heard
before the BVA. 38 U.S.C. § 7104. Therefore, Plaintiff was not prevented from appealing any
determinations by the VA, and in fact, was advised by the VA on how to pursue an appeal through the
appropriate jurisdictional channels

2 in its February 15l 2017, Entry, the Court dismissed Claims Two through Twelve from Plaintist

Amended Complaint with prejudice Doc. #20, PagelD #195. That dismissal is with prejudice only to
refiling in this Court,' it is without prejudice as to refiling in a court of competent jurisdiction

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Date: Aprii 20, 2013 UZ, U®

wALTER H. RicE' "‘
uNiTED s'rATEs DisTRicT JUDGE

